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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

United States of America,

      V.                                            Case No. 2:19-cr-73


Kedar K. Deshpande,                                 Judge Michael H. Watson

      Defendant.

                                      ORDER


      The trial date was continued In this case until April 6,2020. EOF No. 13.

At the status conference held on May 21, 2019, Defendant, through counsel,

waived his right to a speedy trial. Nevertheless, pursuant to 18 U.S.C.

§ 3161(h)(7)(A), the Court finds that the ends of justice served by the granting of

a continuance In this case outweigh the best Interests of the public and

Defendant In a speedy trial. Specifically, the Court finds that, although this case

Is not so unusual or complex as to fall under 18 U.S.C. § 3161(h)(7)(B)(ll), failure

to continue the trial In this case would unreasonably deny Defendant and the

Government of the reasonable time necessary for effective preparation for trial,

even after taking Into account the exercise of due diligence by counsel under §

3161(7)(B)(lv).

      IT IS SO ORDERED.




                                       MICHAEL H. WATSON, JUDGE
                                       UNITED STATES DISTRICT COURT
